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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 04-60216-CR-COHN/SNOW

  UNITED STATES OF AMERICA

                Plaintiff,

  vs.

  KENNETH WILK,
      a/k/a “Wolfpackeines,”

       Defendant.
  _______________________________________/

                             COROLLARY ORDER RE: VOIR DIRE

         THIS CAUSE is before the Court as a corollary to the Order Re: Voir Dire [DE

  430] entered March 30, 2005, and in furtherance of a meaningful voir dire examination.

  The Court provides herewith Voir Dire Instruction Re: Bifurcation (Appendix A), advising

  the parties of the Court’s intended explanation to the venire of the bifurcated procedure

  to be followed in this capital felony case, and Summary of Superseding Indictment

  (Appendix B) which will also be read to the venire.

         The attachments are intended to address in part docket entries 728, 733 and

  768, with respect to instructions by the Court prior to voir dire examination of jurors.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida this 19th day of March, 2007.




  Copies to:
  All counsel of record
